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     Attorney(s) for Plaintiff Social Positioning Input Systems, LLC
 6

 7
                      IN THE UNITED STATES DISTRICT COURT
 8                  FOR THE CENTRAL DISTRICT OF CALIFORNIA
 9
      SOCIAL POSITIONING INPUT
10    SYSTEMS, LLC,                             CASE NO.: 8:21-cv-01156-KES
11                 Plaintiff,
                                                PATENT CASE
12          v.
13
      WOLF MOBILE, INC. d/b/a                   NOTICE OF VOLUNTARY
14    ECONZ WIRELESS,                           DISMISSAL WITHOUT
                                                PREJUDICE
15                 Defendant.
16

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18         Plaintiff Social Positioning Input Systems, LLC (“Plaintiff” and/or “SPIS”) files
19   this Notice of Voluntary Dismissal Without Prejudice pursuant to Federal Rule of Civil
20   Procedure 41(a)(1)(A)(i). According to Rule 41(a)(1)(A)(i), an action may be dismissed
21   by the plaintiff without order of court by filing a notice of dismissal at any time before
22   service by the adverse party of an answer. Accordingly, Plaintiff hereby voluntarily
23   dismisses this action against Defendant Wolf Mobile, Inc. d/b/a Econz Wireless without
24   prejudice, pursuant to Rule 41(a)(1)(A)(i) with each party to bear its own fees and costs.
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                        NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
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     Dated: January 13, 2022              Respectfully submitted,

 2                                        /s/Stephen M. Lobbin
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                                          San Diego, California 92037
 6                                        (949) 636-1391 (Phone)
 7
                                          Attorney(s) for Plaintiff
 8
                                          Social Positioning Input Systems, LLC
 9
                               CERTIFICATE OF SERVICE
10

11          I hereby certify that on January 13, 2022, I electronically transmitted the
     foregoing document using the CM/ECF system for filing, which will transmit the
12
     document electronically to all registered participants as identified on the Notice of
13   Electronic Filing, and paper copies have been served on those indicated as non-
     registered participants.
14
                                           /s/ Stephen M. Lobbin
15                                         Stephen M. Lobbin
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                       NOTICE OF VOLUNTARY DISMISSAL WITHOUT PREJUDICE
